                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                         CIVIL ACTION NO. 3:18-CV-00189-GCM
 JAMES C. MCNEILL,

                  Plaintiff,

     v.                                                            ORDER

 MICHAEL D. HINSON,
 FNU SIMMONS,
 WILLIAM HORNE,
 FNU KINNEY,
 FNU ALLEN,
 THOMAS B. TURGEON,

                  Defendants.


          THIS MATTER comes before the Court on its own motion. The Court received a

telephone call from counsel for the Defendants. Counsel states that he is presently ill, is

experiencing symptoms consistent with the novel coronavirus, SARS-CoV-2 (“COVID-19”), and

is awaiting test results. Trial in this matter is currently set for November 1, 2021.

          The Court concludes that in order to preserve public resources and protect public health,

the trial in this matter must be continued. The Court will treat counsel’s phone call as an oral

motion to continue the trial, and will grant the motion. The Court will also vacate the writ of habeas

corpus ad testificandum for trial.

          IT IS THEREFORE ORDERED that the trial in this matter is CONTINUED to a date

to be determined by separate order. The writ of habeas corpus ad testificandum (ECF No. 61) is

VACATED. The Clerk is respectfully requested to provide a copy of this Order to all parties, the

U.S. Marshal for the Western District of North Carolina, and Joyce Meadows, the Administrative

Specialist for Writs at the North Carolina Department of Public Safety.



           Case 3:18-cv-00189-GCM Document 78 Filed 10/26/21 Page 1 of 2
SO ORDERED.

                          Signed: October 26, 2021




 Case 3:18-cv-00189-GCM Document 78 Filed 10/26/21 Page 2 of 2
